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                             UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF CALIFORNIA


CELLWITCH INC.,                                    Case No. 19-cv-01315-JSW (AGT)
               Plaintiff,
                                                   DISCOVERY ORDER
         v.
                                                   Re: Dkt. No. 180
TILE, INC.,
               Defendant.



       This order resolves the discovery disputes raised in the July 21, 2023, joint statement.

                                             ***

       1. Requests for Production. By August 17, 2023, Tile must produce the four “git logs”

identified in the joint statement and a “git blame” utility for each of the four code bases. See

Dkt. 180 at 5. By September 12, 2023, Tile must produce all Confluence webpages within the

folders (or “spaces”) identified in Exhibit D to the joint statement. See Dkt. 180-9. The “git

logs,” “git blame” utility, and Confluence webpages contain technical information that appears

responsive to Cellwitch’s RFPs Nos. 3–8. Tile hasn’t persuaded the Court that the burden of

producing this information will outweigh the likely benefit.

       Cellwitch will not be precluded from challenging the adequacy of Tile’s supplemental
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production, or from making demands for more discovery, if warranted. See Dkt. 180 at 5. The

Court isn’t suggesting that Tile’s production will be deficient or that more discovery will be

needed, but Cellwitch can take those positions if appropriate.

       2. 30(b)(6) Depositions. The Court denies Cellwitch’s request for permission to take

two 30(b)(6) depositions, with the two depositions potentially covering the same topics with

the same witnesses. Cellwitch hasn’t cited authority for its request and hasn’t persuaded the

Court that there is good cause for approving it.

       3. Source Code Discovery. The Court denies Cellwitch’s requests for an order that

would compel Tile “to provide Cellwitch’s technical expert and counsel with laptops containing

Tile’s source code,” and “to produce paper copies of any portions of the source code Cellwitch

deems necessary to advance its case.” Dkt. 180 at 3. Cellwitch’s requests, if granted, would

effectively rewrite the stipulated protective order. See Dkt. 128 at 14, Stipulated Protective Or-

der § 9(c) (requiring source code to be viewed “on a secured computer in a secured room” and

restricting the use of paper copies to portions of source code that are “reasonably necessary for

the preparation of court filings, pleadings, expert reports, or other papers, or for deposition or

trial”). Cellwitch hasn’t asked Judge White to amend the stipulated protective order, which he

signed, and the undersigned won’t compel discovery that is inconsistent with that order.

      IT IS SO ORDERED.

Dated: August 4, 2023


                                                    ______________________________
                                                    Alex G. Tse
                                                    United States Magistrate Judge




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